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uNlTED sTATEs oF AMER\cA, * 999 * 9 993
P\aintirf, *
vs. * Criminal No. 02-20165-0
GEoFFREY L. FELDMAN, *
Defendant. *

 

ORDER FOR RELEASE OF PASSPORT

 

This cause came on to be heard this date upon oral motion of counsel for the
Defendant, Geoffrey L. Feldman, requesting the return of his original passport which is
presently in the custody of Pretrial Services; and

lT APPEAR|NG TO THE COURT that the Defendant’s motion should be granted
for good cause shown;

lT lS THEREFORE ORDERED that the original passport of Geofirey L. Feldman

is to be returned to the Defendant. or his Counse|, forthwith.

Enter this Q#` day of August, 2005.

 

ERN|C BOU|E DONALD
United States District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 596 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

